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 1 HICKEY & CHUNG, LLP                                      WILLKIE FARR & GALLAGHER LLP
   Naomi Chung (SBN 283743)                                 Koren Bell (SBN 268614)
 2 Brendan Hickey (SBN 261794)                                kbell@willkie.com
     chung@defender.law                                     2029 Century Park East
 3
     hickey@defender.law                                    Los Angeles, CA 90067
 4 Pier 9, Suite 100                                        T: (310) 855-3016
   San Francisco, CA 94111                                  F: (310) 855-3099
 5 T: (415) 942-9000
   F: (415) 484-7054                                        Michael S. Schachter (Pro Hac Vice)
 6                                                            mschachter@wilkie.com
   TAMARA CREPET LAW                                        787 Seventh Avenue
 7
   Tamara A. Crepet (SBN 277408)                            New York, NY 10019-6099
 8 Pier 9, Suite 100                                        T: (212) 728-8102
   San Francisco, CA 94111                                  F: (917) 656-0462
 9 T: (415) 517-3496
                                                            Attorneys for Defendant
10 Attorneys for Defendant                                  RUTHIA HE
11 DAVID BRODY

12

13                                   UNITED STATES DISTRICT COURT

14                                NORTHERN DISTRICT OF CALIFORNIA
15
                                         SAN FRANCISCO DIVISION
16

17    UNITED STATES OF AMERICA,                             Case No. 24-CR-329-CRB

18            Plaintiff,                                    REPLY TO GOVERNMENT OPPOSITION
                                                            [ECF 183] TO DEFENDANTS’ JOINT
19               v.
                                                            MOTION FOR SEVERANCE [ECF 160]
20      DAVID BRODY,

21            Defendant.

22

23

24                                               INTRODUCTION
25          On December 4, 2024, Defendants Ruthia He and David Brody jointly moved this Court for
26 severance on the grounds that (1) the conflict between Ms. He’s right to a speedy trial and Dr. Brody’s

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 1 right to mount a defense with the effective assistance of counsel warranted severance, and (2) they

 2 anticipated presenting antagonistic defenses. ECF 160. On December 16, 2024, the government opposed

 3 Defendants’ motion primarily arguing that (1) Ms. He had not exercised her speedy trial right and that

 4 even if she had the law favored Dr. Brody’s right to effective assistance of counsel, and (2) Ms. He’s and

 5 Dr. Brody’s anticipated defenses were not so antagonistic that “the defense of one defendant would rely

 6 on arguing the other should be convicted.” ECF 183 at 1. The defendants respectfully submit their reply

 7 below.

 8                                                     ARGUMENT

 9 I.        The Conflict Between Ms. He’s Right to a Speedy Trial and Dr. Brody’s Right to Effective
             Preparation Warrants Severance.
10
             As the Court has acknowledged, unlike Dr. Brody, Ms. He remains in custody and desires the
11
     speediest possible trial, even if such a trial date is earlier than what is necessary for Dr. Brody’s counsel
12
     to prepare a constitutionally adequate defense for their client. See, e.g., Nov. 6 Tr. at 6:12-16 (“Well, the
13
     defendant’s in custody.”); id. at 10:9-12 (“[T]his case is not going to take a lifetime to try . . . And
14
     especially, the defendant’s in custody and the defendant’s presumed to be innocent.”); Dec. 4 Tr. at 4:5-
15
     11 (“Ruthia He is in custody. One defendant is in custody; one is not.”); id. at 14:19-25 (“[W]e don't sit
16
     around and wait till Lawyer X . . .when they're available to try the case. I don't. And I especially don't if a
17
     co-defendant is in custody.”); id. at 15:14-16 (“I'm not going to justify it on the basis of your calendar
18
     against a defendant in custody who is prepared to go to trial.”); id. at 20:4-6 (“But here, I have a
19
     defendant in custody and that is of concern to me.”); id. 27:2-5 (“. . . we have a defendant in custody.”).
20
             The Government’s solution is to propose a trial date in “May, June, or July 2025 (or a later date in
21
     2025 if the Court deems that necessary based on sealed ex parte submissions by Defendant Brody’s
22
     counsel).” ECF 183 at 4. The Government’s solution, which is based almost entirely on Dr. Brody’s
23
     right to prepare an adequate defense, takes insufficient account of Ms. He’s equally important
24
     constitutional right to a speedy trial.
25
             In its Opposition, the Government attempts to downplay the urgency of Ms. He’s detention and
26
     wish for the speediest possible trial by relying on case law that is inapposite to and distinguishable from
27

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 1 the instant matter. For instance, the defendants in many of these cases had caused the delay of their own

 2 trials by requesting multiple continuances, substituting counsel halfway through the proceedings, or

 3 resisting efforts to be tried in the United States—none of which apply to Ms. He. 1 In fact, only one case

 4 cited by the Government in Section III(A)(1) of the Opposition (ECF 183 at 4-7) includes any discussion

 5 of a defendant’s pretrial detention where the defendant was not the cause of delay by, for example,

 6 requesting a continuance. See United States v. Smith, 494 F. Supp. 3d 772, 785 (E.D. Cal. Oct. 14, 2020)

 7 (ECF 183 at 6). In that case, the court found that a nine-month pretrial custody period was

 8 “presumptively prejudicial,” but delay of trial was justified specifically because of the unique risk posed

 9 by the COVID-19 pandemic in 2020 and the court’s subsequent “inability to safely conduct a jury trial.”

10 Id. (finding that delay was justified and imposed in good faith because “[t]he Court cannot hold a jury

11 trial at the present time without putting the public, the parties, court staff and the attorneys at substantial

12 risk”). Such extraordinary circumstances do not exist here and therefore should not warrant the denial of

13 Ms. He’s right to a speedy trial as she remains in custody.

14          Dr. Brody has the right to a constitutionally adequate defense. He should not be required to forgo

15 his right to present the defense of his choice with counsel of his choosing to prepare for a trial on an

16 unprecedented timeline for a case of this scope and complexity; nor does the law require him to do so.

17
     1
18     See, e.g., United States v. King, 483 F.3d 969, 976 (9th Cir. 2007) (finding that the reasons for the
     delay, i.e., the “focal point of the [Sixth Amendment] inquiry,” included numerous continuances granted
19   at the defendant’s request and the substitution of defendant’s attorney halfway through the proceedings,
     neither of which apply to Ms. He); United States v. Tanh Huu Lam, 251 F.3d 852, 856-57 (9th Cir. 2001)
20   (finding that the reasons for delay “rested squarely on the shoulders” of defendant’s trial counsel, who
21   requested every continuance in the case); Page v. Lockyer, 200 Fed. Appx. 727, 728 (9th Cir. 2006)
     (finding that defendant was responsible for the delay because defendant had requested every
22   continuance); United States v. Manning, 56 F.3d 1188, 1194 (9th Cir. 1995) (finding that defendant was
     responsible for the delay because he “resisted all efforts to bring him to the United States” and “forc[ed]
23   the government to run the gauntlet of obtaining formal extradition”); United States v. Nance, 666 F.2d
     353, 360 (9th Cir. 1982) (relating to a delay of only five months between indictment and trial, which Ms.
24
     He has already surpassed in pretrial detention); United States v. Annerino, 495 F.2d 1159, 1163 (9th Cir.
25   1974) (finding that delay was caused by co-defendant counsel’s unavailability due to an unforeseeable
     external circumstance, i.e., a heart attack, which differs from the reasons in the instant case); United
26   States v. Moheb, No. 22-CR-00132 (JSW), 2022 WL 3215003, at *3 (N.D. Cal. Aug. 9, 2022) (finding
     that delay was caused by the unavailability of co-defendant’s counsel, which does not apply to Ms. He or
27   Dr. Brody’s counsel).
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 1 United States v. Messer, 197 F.3d 330, 336 (9th Cir. 1999) (stating that provided the delay is reasonable,

 2 “[i]t is well established that an exclusion from the Speedy Trial Clock for one defendant applies to all

 3 codefendants”). This is especially so because Ms. He has not yet exercised her speedy trial rights, see

 4 ECF 23, 31, 40, 102, 130, 149, 166 (Ms. He exclusions of time), making trial a year from now or even

 5 eighteen months from now well within what is considered reasonable. See United States v. Tanh Huu

 6 Lam, 251 F.3d 852, 860 (9th Cir. 2001) (finding that where fourteen-and-a-half-month delay was in part

 7 attributable to defendant’s exclusions of time, there was no speedy trial act violation), United States v.

 8 Lonich, 23 F.4th 881, 895 (9th Cir. 2022), overruled on other grounds by United States v. Lucas, 101

 9 F.4th 1158 (9th Cir. 2024) (stating that where defendant agreed to a trial date three years after case was

10 indicted to effectively prepare, the additional seven-month delay caused by the filing of a superseding

11 indictment did not violate his speedy trial rights) (emphasis added); see also United States v. Gregory,

12 322 F.3d 1157, 1162 (9th Cir. 2003) (finding that a 22-month delay “was not excessively long”).

13 Moreover, while courts can consider a defendant’s custodial status in assessing whether a speedy trial act

14 violation has occurred, Messer, 197 F.3d at 338, the context here is different: Ms. He had the opportunity

15 to be released but was remanded through her own malfeasance. See ECF 118, 119.

16          Indeed, the development of a constitutionally adequate defense for Dr. Brody will require

17 considerable time and resources, especially because he is not a typical physician nor is this a typical pill

18 mill prosecution. Rather, Dr. Brody, by virtue of his Clinical President title, is in the position of having
19 to defend his motive for creating the company, the company policies and practices at issue, the

20 company’s structure, his role at the company and the work he performed there apart from issuing refill

21 prescriptions, his relationships with other Done employees, and his relationship with co-defendant He.

22 Defending his case will be far more witness and document-intensive than if the charges flowed from a

23 handful, or even thousands of allegedly unauthorized prescriptions. Dr. Brody, as detailed in his ex parte

24 under seal declaration, would be deprived his right to present a constitutionally adequate defense with the

25 effective assistance of counsel, were his trial to be set any earlier than December 2025. While he

26 estimated a trial readiness date of December 2025 at the Court’s request, it is too premature for him to

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 1 evaluate when a trial date can be set.

 2          A criminal defendant has a right to counsel who will “bear [their] skill and knowledge as will

 3 render the trial a reliable adversarial testing process.” Strickland v. Washington, 466 U.S. 668, 687

 4 (1984) (internal citation omitted). In order for counsel to satisfy this obligation, they must conduct an

 5 adequate investigation. Strickland, 466 U.S. at 690-91 (“[s]trategic choices made after less than complete

 6 investigation are reasonable precisely to the extent that reasonable professional judgments support the

 7 limitations on the investigation.”). Where counsel do not have the time to adequately investigate and

 8 prepare for trial, a defendant’s right to counsel is “an empty formality.” United States v. Verderame, 51

 9 F.3d 249, 252 (11th Cir. 1995) (reversing and remanding where trial court failed to give defense counsel

10 adequate time to prepare for trial); Gandy, 569 F.2d at 1328 (same); Schwarz v. United States, 828 F.

11 App’x 628, 632 (11th Cir. 2020) (unpublished) (vacating and remanding where trial court failed to give

12 defense counsel, who immediately moved for more time, adequate time to prepare for trial where the

13 discovery included three terabytes of data).

14          Dr. Brody needs adequate time to effectively prepare for a document-heavy case of this

15 complexity. Even in exercising diligence, his defense team cannot proceed to trial on a case with 11

16 terabytes of discovery, including millions of relevant emails and slack messages, 2 outstanding terabytes

17 of discovery from Ms. He’s electronic devices, an unknown quantity of outstanding company documents,

18 150 witnesses interview reports, and more than 60 noticed government witnesses, ECF 187, ex. 6, on Ms.
19 He’s timeline. Dr. Brody also anticipates litigating his entitlement to documents in accord with the

20 discovery protocol, ECF 144, which will take a minimum of four months. And while Dr. Brody

21 appreciates the Court’s indication that it will require the government to narrow its case, 2 this does not

22 relieve his counsel of the duty to investigate and identify exculpatory material from within a tremendous

23 body of material, develop impeachment information from his same pool, and conduct defense witness

24 interviews beyond those produced by the government. Indeed, aspects of Dr. Brody’s defense will

25
     2
26   For instance, it will help if government were to circumscribe the number of prescriptions at issue
   (particularly with respect to the conspiracy count), delineate the alleged fraudulent misrepresentations,
27 and identify to whom it refers in place of vague references to actions taken by “Done.”

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 1 operate independently of the government’s presentation, and in accord with the tenants of Strickland,

 2 counsel have a duty to investigate to present the defense of Dr. Brody’s choosing. 3

 3          The time Dr. Brody requests is reasonable and consistent with the time afforded other defense

 4 attorneys around the country who are defending healthcare fraud cases with the complication of

 5 discovery protocols. In fact, Dr. Brody has not identified any comparable case that has proceeded to trial

 6 less than approximately seventeen months after the filings of charges, even where some defendants were

 7 in custody. In United States v. Weaver, 19-CR-527-ODW (C.D. Cal. 2019), the indictment issued on

 8 September 11, 2019. ECF 1. One of the defendants was remanded to custody after violating the

 9 conditions of her bond on July 10, 2020, ECF 193, and the trial is presently set for March 18, 2025—

10 more than five years after the case was charged, ECF 606. In United States v. Carver, 22-CR-80022-

11 DSL (S.D. Fla. 2022), the indictment issued on February 24, 2022, ECF 23, one of the defendants was

12 held in custody, ECF 251, and his case was not tried until nearly seventeen months later, on July 10,

13 2023, ECF 690. See also, United States v. Blackman, 23-cr-20271-DSL, ECF 1, 131 (S.D. Fla. 2023)

14 (defendants not in custody, indictment issued 6/27/23, case set for trial on 5/520/25); United States v.

15 Hansen, 21-cr-00063-DLB, ECF 1, 239 (E.D. Ky. 2021) (defendants not in custody, indictment issued

16 11/18/21, trial held on 6/17/24). In line with these cases, Dr. Brody requests that he be afforded a

17 reasonable amount of time to subject the government’s case to a reliable adversarial testing process.

18 II.      Without Severance, Ms. He and Dr. Brody will be Prejudiced by their Mutually
            Antagonistic Defenses
19
            The government opposes severance on the grounds that Ms. He’s and Dr. Brody’s defenses are
20
     not irreconcilable. The government specifically contends that a jury could believe the defenses of both
21

22

23   3
       Dr. Brody files the declaration of his counsel ex parte under seal, as it reveals sensitive trial strategy
     that should not be disclosed to the government or co-defendant counsel. Such ex parte sealed filings are
24
     appropriate in a motion seeking severance. See, e.g., Order re Severance of Trials, United States v.
25   Holmes, 5:18-cr-00258-EJD, ECF 362 (N.D. Cal. March 20, 2020)(granting severance after defendant
     submitted sealed affidavit disclosing trial strategy); United States v. Carona, No. SA CR 06-224-AG,
26   2008 WL 1970221, at *1, *3 (C. D. Cal. May 2, 2008) (granting severance after in camera review of
     defendant’s “declaration describing the nature of the testimony which she would seek to present in her
27   defense”).
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 1 defendants, thereby acquitting them both. ECF 183 at 16. But there is no doubt that Ms. He and Dr.

 2 Brody will have mutually antagonistic defenses at trial, with each arguing that he or she was intentionally

 3 deceived by the other. Every time the government describes Ms. He as a corporate dictator who

 4 impermissibly crafted and enforced clinical policies intended to maximize profits at the cost of patient

 5 care, Dr. Brody’s counsel will agree, turning him into a second prosecutor into the case against Ms. He.

 6 And even where the government may not be so inclined, Dr. Brody’s defense anticipates presenting

 7 documentary and testimonial evidence establishing that Ms. He targeted him from the outset, preyed on

 8 his vulnerabilities, concealed her true intentions and unlawful conduct, undercut his efforts to implement

 9 patient-first policies, cultivated a toxic company culture intended to silence any who opposed her agenda,

10 and obstructed justice to protect herself. In this way, Dr. Brody’s defense is contingent on the jury

11 concluding that Ms. He should be convicted of the offenses alleged by the government, as she conspired

12 with others in the company against Dr. Brody.

13          In the same vein, Ms. He intends to point the finger at Dr. Brody. ECF 160 at 4. She will

14 demonstrate that she relied on Dr. Brody, a decorated physician, and other experts with the medical

15 background, training, and experience she lacked, to ensure that Done’s policies were consistent with the

16 exercise of clinicians’ independent professional judgment to issue prescriptions lawfully during the

17 period of the alleged conspiracy. It is not just that Ms. He intends not to defend Dr. Brody’s prescribing

18 or policy decisions. Ms. He will look to leverage the Government’s position that his prescriptions—
19 including the two specifically alleged to be unlawful in Counts 2 and 5—were in fact unauthorized, and

20 that the Done policies he recommended or approved resulted in his violating his Hippocratic Oath, to

21 demonstrate her corresponding lack of requisite knowledge or intent that Dr. Brody or any other clinician

22 would issue prescriptions without a medical purpose and outside the course of their ordinary professional

23 practice. In this way, Ms. He anticipates that she will seek to align herself with the Government’s case

24 against Dr. Brody in order to underscore the fatal deficiencies in the proof as to her.

25          Where mutually antagonistic defenses are set forth as in the present case, the Ninth Circuit has

26 acknowledged that “in order to zealously represent his client, each codefendant's counsel must do

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 1 everything possible to convict the other defendant” which results in an “extra prosecutor,” who is not

 2 bound by the same rules that apply to the government. Tootick, 952 F.2d at 1082. The troubling

 3 consequences of defending against an “extra prosecutor” should not minimized. The “opening

 4 statements can become a forum in which gruesome and outlandish tales are told about the exclusive guilt

 5 of the ‘other,’” unchecked by the government even if they are later unsubstantiated by the evidence. Id.

 6 The “cross-examination of the defendant’s witnesses provides [the codefendant with] further

 7 opportunities for impeachment and the ability to undermine the defendant’s case” thereby turning the

 8 codefendant’s case “into a separate forum in which the defendant is accused and tried.” Id. Relatedly,

 9 the “cross-examination of the government's witnesses becomes an opportunity to emphasize the exclusive

10 guilt of the other defendant or to help rehabilitate a witness that has been impeached.” Id. And of

11 course, “evidence having the effect of exonerating one defendant implicitly indicts the other” forcing

12 each defendant to defend against not only the government’s case against him, but also “the negative

13 effects of the codefendant’s case.” Id. As such, Ms. He and Dr. Brody expect nothing short of a blood

14 bath in a joint trial. Especially where it is untenable for the jury to believe Ms. He maliciously undercut

15 Dr. Brody’s attempts to implement clinically-sound policies, while also believing that she reasonably

16 relied on Dr. Brody’s clinical expertise and decision to implement policies not in contravention to the

17 law. Cf. United States v. Zafrio, 506 U.S. 534, 542-43 (1993) (Stevens ,J. concurring) (stating that

18 defenses were not mutually antagonistic where the jury could have acquitted all defendants), United
19 States v. Throckmorton, 87 F.3d 1069, 1072 (1996) (holding that defenses were not mutually exclusive

20 where one defendant argued insufficiency of the evidence and the other argued he was a confidential

21 informant), United States v. Cheeves, 2010 WL 1260808 at *3 (March 29, 2010) (Breyer, J.) (holding

22 that defenses were not mutually antagonistic because the jury could have found a third party guilty of the

23 alleged offense and defendants’ defenses did not present a “zero-sum game”), United States v. Anderson,

24 36 Fed. App’x 325, 326 (9th Cir. 2002) (unpublished) (holding that a jury could have determined that

25 both defendants lacked the requisite mens rea).

26          Additionally, while critical discovery remains outstanding, Dr. Brody is already aware of

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 1 documents that he will seek to introduce at trial that exculpate him and inculpate Ms. He. Dr. Brody

 2 further anticipates that Ms. He will move to exclude these documents. Zafrio, 506 U.S. at 539 (“a

 3 defendant might suffer prejudice if essential exculpatory evidence that would be available to a defendant

 4 tried alone were unavailable in a joint trial”).

 5                                                CONCLUSION

 6          Based on the foregoing authorities and arguments, Ms. He and Dr. Brody respectfully request that

 7 this Court grant their motion for severance.

 8
                                                               Respectfully submitted,
 9

10   Dated: December 27, 2024                                  HICKEY & CHUNG LLP
                                                               TAMARA CREPET LAW
11

12                                                      By:    ______/s/___________
                                                               Naomi Chung
13                                                             Brendan Hickey
                                                               Tamara Crepet
14
                                                               Attorneys for Defendant
15                                                             DAVID BRODY
16

17
                                                               WILLKIE FARR & GALLAGHER LLP
18
                                                        By:           /s/
19                                                             Koren Bell
                                                               Michael S. Schachter
20
                                                               Steven J. Ballew
21                                                             Michael Morizono

22                                                             Attorneys for Defendant
                                                               RUTHIA HE
23

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